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UNITED STATES DISTRICT CoURT F“~f@ B@Us D-C-
WESTERN DISTRICT oF TENNESSEE _
Western Division 05 JUL \3 PH lz' 51

 
  

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UNITED STATES OF AMERICA CLERK| U: : _ aim COURT

W/D ti- .. i.€l;.*tPHlS
-vs- Case No. 2:05cr20232-D

JA NET GRIFFIN

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):
APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

' All purposes including trial and appeal
YL\
DONE and ORDERED in 167 North Main, Memphis, this fog day of July, 2005.

§ LM; g. LAL/

DlANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assista;nt Federal Public Defender
Intake

JA NET GR[FF]N

Thls document entered on the docket 1 qq`TLWe

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 12 in
case 2:05-CR-20232 Was distributed by faX, mail, or direct printing on
July l4, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

